      Case 1:17-cr-00596-GBD Document 1 Filed 08/29/17 Page 1 of 6

                        l 7MAG. 6558
Approved:    ~
            ANDREW CHAN / JILAN KAMAL / ANDREW THOMAS
            Assistant United States Attorneys

Before:     HONORABLE KEVIN NATHANIEL FOX
            United States Magistrate Judge
            Southern District of New York

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                                              COMPLAINT
UNITED STATES OF AMERICA
                                              Violation of 21 U.S.C.
          - v.   -                            § 846


 TONY McCLAM and                              COUNTY OF OFFENSE:
 RAYMUNDO LEAL,                               BRONX

          Defendants.
                        - - - - x

SOUTHERN DISTRICT OF NEW YORK, ss.:

          SARAH CARDONA, being duly sworn, deposes and says that
he is a Special Agent with the Drug Enforcement Administration
("DEA"), and charges as follows:

                               COUNT ONE

          1.   In or about May 2017, in the Southern District of
New York and elsewhere, TONY McCLAM and RAYMUNDO LEAL, the
defendants, and others known and unknown, intentionally and
knowingly did combine, conspire, confederate, and agree together
and with each other to violate the narcotics laws of the United
States.

            2.   It was a part and an object of the conspiracy
that TONY   McCLAM and RAYMUNDO LEAL, the defendants, and others
known and   unknown, would and did distribute and possess with
intent to   distribute a controlled substance, in violation of
Title 21,   United States Code, Section 841(a) (1).
       Case 1:17-cr-00596-GBD Document 1 Filed 08/29/17 Page 2 of 6



            3.  The controlled substance that TONY McCLAM and
RAYMUNDO LEAL, the defendants, conspired to distribute and
possess with intent to distribute was five kilograms and more of
mixtures and substances containing a detectable amount of
cocaine, in violation of Title 21, United States Code, Section
84l(b) (1) (A).

            (Title 21, United States Code, Section 846.)

            The bases for my knowledge and the foregoing charge
are,   in part, as follows:

          4.   I am a Special Agent with the DEA. I have been
personally involved in the investigation of this matter. This
Affidavit is based upon my personal participation in the
investigation, my examination of reports and records, and my
conversations with other law enforcement agents and other
individuals. Because this Affidavit is being submitted for the
limited purpose of demonstrating probable cause, it does not
include all the facts that I have learned during the course of
my investigation. Where the contents of documents and the
actions, statements, and conversations of others are reported
herein, they are reported in substance and in part, except where
otherwise indicated.

           5.  Since in or about February 2015, the DEA has been
conducting an investigation of a California and Mexico-based
drug trafficking organization ("DTO") that uses commercial
trucks to transport narcotics to and from various locations
within the United States. From my participation in the
investigation and my conversations with other DEA agents, I have
learned, in substance and in part, that, members of the DTO
routinely transport narcotics from Mexico to California via
truck drivers who work for commercial trucking companies. These
truck drivers typically deliver parcels of bulk narcotics to
local personnel for local distribution.

          6.   During the course of the investigation, other
agents and I arrested a truck driver ("CW-1") who had delivered
narcotics from the DTO to individuals in the New York City area.
Following CW-l's arrest, CW-1, who has since pleaded guilty to
his participation in the DTO, agreed to assist law enforcement
in hopes of receiving leniency at sentencing. 1


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 CW-1 has proven reliable in the past. Information provided by
CW-1 has been corroborated, in part, by consensual recordings,
                                     2
      Case 1:17-cr-00596-GBD Document 1 Filed 08/29/17 Page 3 of 6




          7.   Based on conversations with CW-1, a review of
recordings created by CW-1 at the direction of the DEA, and a
review of telephone calls to and from CW-1 that were intercepted
with CW-l's consent, I have learned, in part, the following:

                  a. On or about May 18, 2017, an individual
("CC-1") contacted CW-1 by telephone. During that call, which
was not recorded, CC-1 informed CW-1, in substance and in part,
that CC-1 and another person ("CC-2") had procured a wholesale
shipment narcotics and wanted to meet CW-1 to discuss shipping
those narcotics to the New York City area.

                  b. On or about May 27, 2017, CC-2 contacted CW-
1 by telephone. During that call, which was not recorded, CC-2,
in substance and in part, (a) directed CW-1 to coordinate the
retrieval of a parcel of narcotics from an associate ("CC-
3"), (b) informed CW-1 that CC-2 intended to pick-up the
narcotics in New York himself, and (c) said that the narcotics
were intended for sale to an individual in New York.

                  c. On or about May 28, 2017, at the direction
of law enforcement, CW-1 met CC-3 at a travel stop in the
Bakersfield, California area. At CC-3's direction, CW-1
retrieved a bag from the back seat of CC-3's vehicle. The bag
contained approximately 14 individually-wrapped packages (the
"Drug Shipment").

                   d. CW-1 subsequently provided the Drug Shipment
to the DEA.

          8.   Based on an inspection of the Drug Shipment and a
review of laboratory tests of the Drug Shipment's contents, I
know that the Drug Shipment contained approximately 14 kilograms
of cocaine divided into 14 individually-wrapped bricks.

          9.   Based on conversations with CW-1, a review of
recordings created by CW-1, a review of call detail records,
visual surveillance, and conversations with other law
enforcement agents participating in the investigation, I have
learned, in part, the following:

                  a. On or about May 31, 2017, CW-1 exchanged a
series of telephone calls with CC-2 to coordinate the delivery


call detail records, visual surveillance, Title III
interceptions, and seizures.
                                    3
      Case 1:17-cr-00596-GBD Document 1 Filed 08/29/17 Page 4 of 6



of the Drug Shipment. CC-2 used a cellphone with a particular
call number (the "Leal Phone"). The DEA intercepted and recorded
these communications with CW-l's consent. During these calls, in
substance and in part, CC-2 and CW-1 apprised each other of
their of respective progress in reaching a pre-arranged meeting
point at a particular highway rest area near Ridgefield, New
Jersey (the "Truck Stop").

                 b. At approximately 8:00 p.m. on May 31, 2017,
another agent and I provided CW-1 with a suitcase filled with
approximately nineteen individually-wrapped brick-shaped parcels
that contained a powder resembling cocaine (the "Suitcase").

                  c. After providing CW-1 with the Suitcase,
other law enforcement agents and I conducted visual surveillance
at the Truck Stop.

                  d. At approximately 10:05 p.m., a white
Volkswagen Touareg (the "SUV") pulled into the Truck Stop. The
SUV parked near CW-l's truck. CW-1 brought the Suitcase over to
the SUV. The SUV's rear passenger door opened and CW-1 placed
the Suitcase inside. The SUV drove away from the Truck Stop.

                  e. At approximately 10:15 p.m., law enforcement
agents, who had been following the SUV, activated emergency
lights and sirens. The SUV then pulled to the side of the
roadway.

                  f. After approaching the SUV, a DEA agent
("Agent-1") observed three individuals seated inside the SUV:
TONY McCLAM and RAYMUNDO LEAL, the defendants, and a third
person (the "Driver"). The Driver was seated behind the wheel,
McCLAM was seated in the front passenger seat, and LEAL was
seated in a rear passenger seat. After engaging LEAL in
conversation, Agent-1 directed the occupants to step out of the
SUV.

                  g. McCLAM, in substance and in part, informed
Agent-1 that he owned the SUV. McCLAM gave verbal consent to
Agent-1 to search the SUV. Agent-1 looked inside the SUV, found
the Suitcase in the trunk, and retrieved the Suitcase. Agent-1
asked McCLAM, LEAL, and the Driver about the Suitcase, but each
person denied owning the Suitcase or having seen it before.

                  h. Agent-1 placed McCLAM, LEAL, and the Driver
under arrest. In connection with the arrests of McCLAM and LEAL,
law enforcement agent seized multiple cellular telephones from
each man. Based on telephone service provider records and

                                    4
      Case 1:17-cr-00596-GBD Document 1 Filed 08/29/17 Page 5 of 6



location data on the Leal Phone, I know that one of the cellular
phones possessed by LEAL was the same make and model as the Leal
Phone, and was located at the same approximate place as the Leal
Phone.

                  i. After transporting TONY McCLAM and RAYMUNDO
LEAL, the defendants, and the Driver, to a safe location away
from the roadside, Agent-1 advised McCLAM of his Miranda rights.
Based on conversations with Agent-1, and a review of DEA
records, I know that McCLAM, at first, and in substance and in
part, (a) acknowledged ownership of the car, (b) denied having
seen the Suitcase before, and (c) claimed to have been sleeping
while at the Truck Stop. Later, after Agent-1 spoke with LEAL
and the Driver, Agent-1 confronted McCLAM again. McCLAM then
said, in substance and in part, (a) LEAL had traveled to the
Truck Stop to meet someone, (b) LEAL had picked-up a bag from a
truck driver, and (c) LEAL had recently arrived in New York from
California.

               j.   At approximately 11:15 p.m., a certified
narcotics detection canine handler ("Officer-1") exposed the
exterior and the interior of the SUV to his trained canine,
"Cedo," for inspection and review. 2 Cedo reacted to the interior
of the SUV, specifically, to, among other places, an area in the

2    I am informed by Cedo's handler, Officer-1, that Cedo is a
German Shepherd, originally certified as a narcotics detection
canine after completing certification with the Port Authority
Police Academy and the U.S. Police Canine Association in July
2008. Cedo was certified to detect the odors of marijuana,
cocaine, heroin, ecstasy, methamphetamines, and their
derivatives. Since that time, Cedo has received numerous hours
of training and is utilized regularly for the purpose of
detecting narcotic odors. Cedo has been involved in hundreds of
search warrants and has made numerous positive identifications.
During Cedo's training and in order to be certified, he is
subjected to numerous objects both containing and not containing
narcotics. He is trained to differentiate and to give a positive
indication if he detects the odors of narcotics. Cedo was last
certified in June 2016. He is routinely used to conduct searches
of automobiles, residences, packages and suitcases. Cedo alerts
after detecting the scent of narcotics. Cedo will positively
alert his handler to the presence of the odor of marijuana,
cocaine, heroin, ecstasy, and methamphetamine and their
derivatives. He has successfully given positive indications of
narcotics in the field in the past and has proven reliable in
the field.


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      Case 1:17-cr-00596-GBD Document 1 Filed 08/29/17 Page 6 of 6



trunk. Law enforcement subsequently searched the truck and
discovered a hidden compartment, which was empty. Agent-1 then
asked TONY McCLAM, the defendant, about the compartment; McCLAM,
in substance and in part, said that he was unaware of the
compartment and had purchased the car from RAYMUNDO LEAL, the
defendant, and LEAL's associates.

           10. Based on cellphone geolocation data on the Leal
Phone, I know that the Leal Phone traveled through Bronx, New
York before arriving at the Truck Stop. Based on the facts that
(a) CC-2 had told CW-1 that CC-2 intended to retrieve the Drug
Shipment himself, (b) CW-1 spoke to a person using the Leal
Phone shortly before delivering the Suitcase, and (c) LEAL had
possession of a cellphone of make, model, and location of the
Leal Phone, I believe that CC-2 is, in fact, RAYMUNDO LEAL, the
defendant.

          WHEREFORE, I respectfully request that a warrant be
issued for the arrest of TONY McCLAM and RAYMUNDO LEAL, the
defendants, and that they be arrested and imprisoned or bailed,
as the case may be.




                                 Special Agent Sarah Cardona
                                 Drug Enforcement Administration


Sworn to before me this
29th day of August, 2017.


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THE HONORABLE KEV::LN NATHANIEL FOX
Unired States Magistrate Judge
Southern District of New York




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